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  8
  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11                               Western Division
 12 AECOM ENERGY &                       Case No. 2:17-cv-05398-RSWL (SSx)
    CONSTRUCTION, INC., an Ohio
 13 Corporation,                         Assigned to: Judge Ronald S.W. Lew
 14              Plaintiff,
                                         DEFENDANT GARY G.
 15        v.                            TOPOLEWSKI’S MEMORANDUM
                                         OF POINTS AND AUTHORITIES IN
 16 JOHN RIPLEY, et al.,                 OPPOSITION TO PLAINTIFF’S
                                         MOTION FOR DISCOVERY
 17              Defendants.             SANCTIONS, TERMINATING
                                         SANCTIONS, AND ATTORNEY’S
 18                                      FEES
 19                                      Date: January 18, 2022
                                         Time: 10:00 a.m.
 20                                      Ctrm: TBD
 21                                      Action Filed:         July 21, 2017
                                         Discovery Cutoff: November 22, 2021
 22                                      Pretrial Conference: January 25, 2022
                                         Trial Date:          March 1, 2022
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  1 I.     INTRODUCTION
  2        In this trademark infringement action, Plaintiff AECOM Energy &
  3 Construction, Inc. (“Plaintiff”) failed to properly support its $1.8 billion damages
  4 claim when it sought and obtained summary judgment using three press releases as
  5 its sole damages evidence, resulting in a reversal by the Ninth Circuit Court of
  6 Appeals and remand to this Court for discovery and trial on the issue of damages.
  7 Incredibly, however, Plaintiff failed on remand to seek any discovery relating to its
  8 purported damages from the Corporate Defendants1 or from individual defendant
  9 Gary G. Topolewski (“Mr. Topolewski”), and refused to wait for third party
 10 discovery relating to the Corporate Defendants that the Magistrate Judge recently
 11 allowed to proceed.
 12        Instead, Plaintiff now seeks many millions of dollars in sanctions against Mr.
 13 Topolewski even though Plaintiff has no evidence of any discovery misconduct or
 14 any violation of a discovery order by Mr. Topolewski that could possibly justify the
 15 draconian sanctions Plaintiff seeks against him. To the contrary, the evidence is
 16 clear that before remand, Mr. Topolewski appeared for his deposition and Plaintiff
 17 never requested a second date for his deposition, nor sought an order compelling
 18 him to appear for a deposition. The evidence is also clear that after remand,
 19 Plaintiff never requested a date for his deposition, nor sought to depose Mr.
 20 Topolewski on damages, much less a court order compelling him to appear. Indeed,
 21 Plaintiff’s sole foray into discovery motion practice following remand was its
 22 unsuccessful renewal of a motion to compel production of Mr. Topolewski’s tax
 23 returns, which was denied by the Magistrate Judge for the third time.
 24        To get around its own failure to seek proper discovery relating to damages
 25 and to ignore that Mr. Topolewski has committed no sanctionable discovery
 26
 27   1
     The “Corporate Defendants” are Morrison Knudsen Corporation, Morrison-
 28 Knudsen   Company, Inc., Morrison-Knudsen Services, Inc., and Morrison-Knudsen
    International, Inc.

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   1 misconduct, Plaintiff improperly lumps Mr. Topolewski together with the Corporate
   2 Defendants and seeks to hold him vicariously liable for millions of dollars in
   3 sanctions. Plaintiff’s motion is based solely on the Corporate Defendants’ discovery
   4 conduct, even though the evidence is clear that Mr. Topolewski has not held any
   5 position with any of the Corporate Defendants since before this litigation
   6 commenced (and thus cannot be held liable either for the Corporate Defendants’
   7 discovery conduct or their alleged violations of the Court’s injunction).
   8        Perhaps even worse, Plaintiff bases the largest of its three alternative
   9 sanctions calculations—for $36 million—on one of the same press releases that the
  10 Ninth Circuit specifically ruled are insufficient evidence of Plaintiff’s damages,
  11 which is now the law of the case. Plaintiff cannot end-run a Ninth Circuit ruling by
  12 way of a sanctions motion.
  13        After remand, Plaintiff can point to no discovery violation by Mr. Topolewski
  14 and he cannot be held vicariously liable for the conduct of the Corporate
  15 Defendants. Plaintiff’s motion is fatally flawed and should be denied in its entirety.
  16 II.    FACTUAL AND PROCEDURAL BACKGROUND
  17        A.     The Ninth Circuit’s Reversal And Remand And Plaintiff’s Refusal
  18               To Withdraw Its $1.8 Billion Abstract of Judgment
  19        The Court entered its order granting Plaintiff’s motion for summary judgment
  20 on November 8, 2018. [Dkt. 242.] On September 9, 2019, Plaintiff obtained nine
  21 separate abstracts of judgment against each Defendant in the amount of
  22 $1,832,268,824.73, consisting of the $1.8 billion judgment, plus $28,545,046.95 in
  23 interest, attorneys’ fees of $873,628.02, and costs of $15,477.76. [Dkt. 327–35.]
  24        On March 24, 2021, the Ninth Circuit reversed the judgment solely on the
  25 issue of damages. AECOM Energy & Constr., Inc. v. Morrison Knudsen Corp., 851
  26 Fed. Appx. 20 (9th Cir. 2021). The Ninth Circuit reversed because “AECOM’s only
  27 evidence establishing Defendants-Appellants’ sales were three press releases.” Id.
  28 at 21–22. Based specifically on this lack of evidence, the Ninth Circuit remanded


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   1 the case to this Court to determine the issue of damages. Id. at 22.
   2        Despite this reversal, however, Plaintiff failed and refused to remove the
   3 recorded $1.8 billion plus abstract from the public record.
   4        B.     Status Conference With This Court
   5        Three months later, at a June 22, 2021 status conference, this Court reiterated
   6 the difficult situation it was put in due to the lack of evidence to support the press
   7 releases upon which Plaintiff relied: “I was not happy with $1.8 billion because of
   8 the lack of materials presented by the plaintiffs. You guys, plaintiff, could have
   9 done more, period. I was very upset at you guys.” [Dkt. 361 at 8:6-9.]2
  10        At this same status conference, Plaintiff’s counsel requested “four to five
  11 months” to complete discovery on damages. [Id. at 16:9.] Yet, Plaintiff has not
  12 “done more” with the reopened discovery period. Indeed, although Plaintiff
  13 subpoenaed a number of third parties, it did not subpoena even one of the entities
  14 referenced in the three press releases questioned by this Court and rejected by the
  15 Ninth Circuit. Plaintiff also sought no discovery from any of the Corporate
  16 Defendants or from Mr. Topolewski. Plaintiff’s counsel never requested a
  17 deposition of Mr. Topolewski or explained how or why such a deposition would be
  18 related to damages. [Declaration of Dan P. Sedor (“Sedor Decl.”), ¶ 6.]
  19        C.     Plaintiff Served No New Discovery On Any Of The Defendants
  20        Plaintiff’s only “discovery” to Mr. Topolewski came by way of a renewed
  21 motion to compel—the third iteration of this motion, which had already been
  22 denied twice. [Dkt. 118 at 1:2; Dkt. 154 at 2:26–7.] On September 3, 2021,
  23 Plaintiff filed a third Motion to Compel Response to Request for Production
  24 (“RFP”) No. 21, [Dkt. 380], which sought “[a]ll tax returns and bank statements of
  25
       2
  26  Plaintiff waited until the status conference to amend its abstract of judgment to
     eliminate the improper reference to the $1.8 billion damages award that the Ninth
  27 Circuit reversed months earlier. [Dkt. 363–71.] Each of these Amended Abstracts
     of Judgment reflect the Court’s attorneys’ fee award of $873,628.02 and costs of
  28 $15,477.76. These Abstracts of Judgment remain recorded as of the writing of this
     Opposition, even though there is no judgment in this case.

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   1 any Individual Defendant since 2008,” [Dkt. 154 at 16:16–17]. This third attempt
   2 failed just as the prior two had. [Dkt. 397 at 4 (“The reasoning in those Orders
   3 remain[s] valid. It is still not clear how tax returns of an individual would be
   4 relevant and proportional to the issues remaining in this case.”).]
   5        D.     Plaintiff’s Third Party Subpoenas
   6        Plaintiff’s only “new” discovery came in the form of various subpoenas
   7 issued to, among others, one bank (US Bancorp), seven telecommunications service
   8 providers, and Defendants’ prior counsel. [Dkt. 373-2–11.]
   9        The subpoena served on US Bancorp sought various bank records, including
  10 bank statements and documents showing transfers and balances and transactions
  11 from the Corporate Defendants and numerous individuals including Mr.
  12 Topolewski. [Dkt. 373–10.] From the telecommunications service providers,
  13 Plaintiff sought documents sufficient to identify the account holder and payment
  14 method used (and related information) for seven different phone numbers. [Dkt.
  15 373-3–9.] From Defendants’ prior counsel, Plaintiff sought information to identify
  16 the source of funds used to pay Defendants’ prior counsel. [Dkt. 373-2.]
  17        In response, and as permitted by law, Mr. Topolewski filed a Motion to
  18 Quash Subpoenas and/or for a Protective Order Barring Enforcement of Subpoenas.
  19 [Dkt. 373.] The Corporate Defendants filed a similar motion. [Dkt. 374.]
  20        E.     The Court Granted Mr. Topolewski’s Motion For Protective
  21               Orders But Allowed The Subpoenas To Stand To The Extent That
  22               They Seek Information Related To The Corporate Defendants
  23        The Magistrate Judge issued her order on the Defendants’ motions on
  24 December 16, 2021. [Dkt. 397.] As to the US Bancorp subpoena, the Magistrate
  25 Judge granted Mr. Topolewski’s motion for a protective order “exclud[ing] from
  26 production applications and bank statements for personal bank accounts owned by
  27 the individuals listed in the subpoena,” which included Mr. Topolewski. [Id. at 3.]
  28 The Magistrate Judge also granted Mr. Topolewski’s motion for a protective order


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   1 as to two of the phone numbers in the telecommunications service provider
   2 subpoenas for Metal Jeans, Inc. and Topolewski America. [Id. at 4 (“Even
   3 assuming Metal Jeans is paying Defendants’ financial obligations in this litigation,
   4 that fact alone does not render discovery about Metal Jeans phone number
   5 proportional to the needs of this case. Similarly, Plaintiff makes no showing that a
   6 phone number at Topolewski America has any relevance to this case.”).]
   7         Similarly, the Magistrate Judge granted Mr. Topolewski’s Motion to Quash
   8 the Subpoena served on Defendants’ prior counsel, the Adli Law Group, questioning
   9 the relevance of the information sought by way of the subpoena. [Id. (“The court
  10 cannot discern any way in which the information sought would be directly relevant
  11 and proportional to the needs of this case.”).]
  12         With respect to the Corporate Defendants, the Court did not quash the
  13 subpoena to US Bancorp insofar as it sought the bank records solely related to the
  14 Corporate Defendants. [Id. at 2–3.] Yet, Plaintiff claims that “Defendants objected
  15 to every single subpoena, and AECOM was unable to obtain discovery, yet again.”
  16 [Dkt. 398-1 at 1:23-25.] This assertion is simply not correct.
  17         The Court granted Mr. Topolewski’s Motion for a Protective Order as to his
  18 bank records and the phone numbers, and granted his Motion to Quash the Adli
  19 Group Subpoena. [Dkt. 397 at 4.] Otherwise, there is nothing in the Court’s order
  20 preventing Plaintiff from obtaining discovery related to the Corporate Defendants
  21 pursuant to the US Bancorp and telecommunication service provider subpoenas,
  22 despite Plaintiff’s false claim that it is “unable to obtain discovery.” [Dkt. 398-1 at
  23 1:23-25.]
  24         F.    Plaintiff’s Counsel Refused To Follow Up On The Third Party
  25               Subpoenas As They Related To The Corporate Defendants
  26         In light of the Magistrate Judge’s ruling, counsel for Mr. Topolewski reached
  27 out to Plaintiff’s counsel to propose a continuance of the discovery cutoff, writing:
  28         The Magistrate Judge otherwise allowed Aecom to proceed with its


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   1         third party subpoenas as to the Corporate Defendants. In light of this
   2         ruling, we think that the best way to proceed at this point is to stipulate
   3         to continue the trial and trial dates, the discovery cutoff, and the hearing
   4         date and briefing schedule on the defendants’ motions for summary
   5         judgment and Aecom’s motion for discovery sanctions. This will give
   6         Aecom time to conduct the discovery permitted by the Magistrate
   7         Judge’s order and to file its motion and opposition with the results of
   8         that discovery. Otherwise, we are concerned that the Court will need
   9         to continue these matters on its own because the record will not be
  10         complete.
  11 [Sedor Decl., Ex. 1 at 5–6 (emphasis added).]
  12         Plaintiff rejected this offer: “Fact discovery closed nearly a month ago. We
  13 will not stipulate to move a date that has already passed.” [Id. at 5.]
  14         G.    The Discovery Disputes Underlying Plaintiff’s Sanctions Motion
  15               Relate Solely To The Corporate Defendants, Not Mr. Topolewski
  16         Plaintiff argues that “Defendants have—to this day—refused to provide any
  17 information about any contracts they entered or any revenue they received.” [Dkt.
  18 398-1 at 7:12-13.] Mr. Topolewski simply does not have access to this information,
  19 and he cannot control the Corporate Defendants’ action or inaction with respect to
  20 this discovery. [Declaration of Gary G. Topolewski (“Topolewski Decl.”), ¶ 2.]
  21         Mr. Topolewski reiterated this lack of access in his Third Amended
  22 Responses to Plaintiff’s Requests for Production. These requests for production
  23 sought all documents relating to the Corporate Defendants’ revenue (RFP No. 19)
  24 and all tax returns and bank statements of the Corporate Defendants (RFP No. 20).
  25 [Sedor Decl., Ex. 2 at 17–8.] Previously, Defendants responded to these requests
  26 collectively, but in these Third Amended Responses, Mr. Topolewski responded
  27 individually, confirming under oath that, with respect to RFP No. 19, he “is unaware
  28 whether or not responding documents exist. If they existed, [he] does not have


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   1 possession or control of documents.” [Id., Ex. 3 at 24.] And as relates to RFP No.
   2 20, Mr. Topolewski confirmed that he “is not in possession or control of requested
   3 records of Corporate Defendants.” [Id. at 25.]
   4         Plaintiff complains that Defendants did not respond to other discovery, but
   5 Mr. Topolewski did respond to Requests for Admission 1–14, as well as numerous
   6 requests for production, and interrogatories, and, in some cases, he amended his
   7 responses three times to comport with court orders. [Sedor Decl., Ex. 3.] After the
   8 remand, Plaintiff never reached out to Mr. Topolewski’s current counsel to obtain
   9 responses to any purported outstanding discovery (likely because this discovery was
  10 unnecessary, as well as irrelevant to the damages issue). [Sedor Decl., ¶ 6.]
  11         Moreover, Mr. Topolewski, unlike the Corporate Defendants, did appear for
  12 his deposition. Plaintiff claims that Mr. Topolewski left his deposition early, and
  13 yet Plaintiff’s counsel never contacted Mr. Topolewski after remand to depose him
  14 on the issue of damages, much less explained how his deposition would be relevant
  15 to the issue of damages. [Id.]
  16         Plaintiff cites to Docket 210—a discovery order entered prior to remand—in
  17 support of the claim that Defendants have failed to respond to discovery, failed to
  18 appear for depositions, and failed to comply with discovery deadlines or court
  19 orders. [Dkt. 398-1 at 1:12-16.] But that order clearly distinguishes Mr.
  20 Topolewski from the Corporate Defendants. As it relates to Mr. Topolewski, the
  21 only further response ordered by the Magistrate Judge was for him to include one
  22 and a half more years in his response to Plaintiff’s Interrogatory No. 15. [Dkt. 210
  23 at 15:7–9.] This Interrogatory sought “all revenues and profits earned by
  24 Topolewski America, Inc. since its date of incorporation and how those revenues
  25 and profits, in whole or in part, are shared with or received by any of the
  26 Defendants.” [Dkt. 154 at 9:4–8.] Otherwise, the Court denied the motion with
  27 respect to Mr. Topolewski. [Id. at 20:9–10 (denied as to “RFP No. 19”); id. at
  28 22:20–21 (denied as to “RFP No. 20”).]


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   1         After remand, Plaintiff’s counsel never requested any further information
   2 regarding this response to Interrogatory No. 15 or explained why it would need a
   3 supplemental response for the damage issue. [Sedor Decl., ¶ 6.] Regardless,
   4 Topolewski America, Inc. has never made any money from the Corporate
   5 Defendants, before or after the Complaint was filed. [Topolewski Decl., ¶ 4.]
   6         Plaintiff alleges that Defendants’ discovery responses were false, claiming
   7 that certain addresses listed in response to Interrogatory No. 3 were not real. But
   8 these addresses relate solely to each “shareholder, director, officer, and employee of
   9 the Corporate Defendants.” [Dkt. 99 at 11.] and not Mr. Topolewski, who again
  10 had no access to the information underlying this response, and who had no control
  11 over the Corporate Defendants when they provided this information. [Topolewski
  12 Decl., ¶ 2–3.] Plaintiff also asserts that names the Corporate Defendants provided
  13 were not real, but Plaintiff offers no evidence beyond speculation.3 [See Dkt. 398-1
  14 at 7:6–10.]
  15         H.    Mr. Topolewski Has Not Held A Position With The Corporate
  16               Defendants Since Before this Litigation Commenced
  17         Mr. Topolewski has not held a position with the Corporate Defendants for
  18 years. Mr. Topolewski does not appear in the Nevada Secretary of State filings for
  19 these entities since before Plaintiff even filed the Complaint on July 21, 2017.
  20 [RJN, Ex. A at 23.] Mr. Topolewski was listed as President and Secretary for
  21 Morrison-Knudsen Services, Inc. in a June 6, 2017 Annual List of Officers and
  22 Directors, (Id.), but was not in the subsequent list filed on June 21, 2017, (Id. at 21–
  23 2), nor in any filing afterwards, (Id. at 5–20). He has not appeared in the Morrison
  24 Knudsen Corporation’s filings as an officer or director since an October 22, 2014
  25
  26
       3
  27   Plaintiff points to corporate filings for Metal Jeans which include the name “Diane
     Torres,” (Dkt. 398-1 at fn. 3), but this has nothing to do with this case or the
  28 damages issue, a fact confirmed by the Magistrate Judge. See Dkt. 397 at 3 (finding
     that phone numbers associated with Metal Jeans are not relevant to this case).

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   1 filing.4 [Id., Ex. B at 55.] He last appeared in a Morrison Knudsen International
   2 Inc. filing on January 23, 2012.5 [Id., Ex. C at 79.] And he has never appeared in a
   3 filing for Morrison-Knudsen Company, Inc. [Id., Ex. D.]
   4         Having no evidence of discovery misconduct by Mr. Topolewski to support
   5 sanctions, Plaintiff instead improperly tries to tie him to the Corporate Defendants.
   6 Plaintiff claims that Defendants falsely denied that he was an officer of the
   7 Corporate Defendants, pointing to a declaration asserting that he was “the Chief
   8 Executive Officer of Defendant MORRISON-KNUDSEN INTERNATIONAL
   9 INC.” [Dkt. 27-1 at 2.] This was erroneous, and Defendants subsequently corrected
  10 it, as noted by Plaintiff’s own submission [Dkt. 398-1 at 6:22–25] and the
  11 declaration of counsel who drafted the declaration. [Declaration of John Jahrmarkt,
  12 ¶¶ 2–3.] This fact is also confirmed by the Secretary of State filings, which, as
  13 noted above, show that Mr. Topolewski was not listed as an officer, let alone CEO,
  14 of Morrison Knudsen International Inc. on or around August 15, 2017, (RJN, Ex. C
  15 at 55–6), nor had he appeared on a filing for the entity since 2012, (Id. at 79).
  16         I.    Mr. Topolewski had Nothing to do with the Corporate Defendants’
  17               Compliance or Lack Thereof with the Preliminary Injunction
  18         Plaintiff notes that the Corporate Defendants failed to abide by the Court’s
  19 preliminary injunction entered on October 4, 2017, [Dkt. 50], but Mr. Topolewski
  20 has not held any position with any of the Corporate Defendants since before that
  21 injunction was entered, (RJN, Ex. A at 21–3), nor has he exerted any control over
  22 their decision to abide by the injunction. [Topolewski Decl., ¶ 3.]
  23         This lack of control comports with the evidence set forth in Corporate
  24
  25   4
       Mr. Topolewski was not listed on Morrison Knudsen Corporation’s subsequent
     January 31, 2015 Annual List of Officers and Directors, (RJN, Ex. B at 44–5.), and
  26 he has not appeared on any filing since the October 22, 2014 filing. (Id. at 28–43).
     5
  27 Mr. Topolewski was not listed on the subsequent Annual List of Officers and
     Directors for E Planet Communications Inc. (later renamed to Morrison Knudsen
  28 International Inc.) filed on January 28, 2012, (Id, Ex. C at 77–8), and he has not
     appeared on any filing since the January 23, 2012 filing. (Id. at 53–76).

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   1 Defendants’ declarations, in which corporate officer Mike Johnson details the
   2 entities’ compliance with the preliminary injunction. [See Dkt. 62, 87.] Mr.
   3 Johnson filed both declarations on behalf of the corporate entities. [Dkt. 62 at 2:9–
   4 13; Dkt. 87 at 2:12–15.] In the first declaration, Mr. Johnson asserts, “I directed my
   5 staff” to “change the corporate name of each defendant . . . [,] to contact all vendors,
   6 suppliers, customers and creditors . . . [, and] to contact each directory service and
   7 provide information that the company names have changed,” and that “I directed my
   8 accounting staff to change all letterhead and invoices.” [Dkt. 62 at 2:14-15, 3:4-5,
   9 3:14-15, 4:3-4.] The second declaration contained similar directives, including Mr.
  10 Johnson’s statement that “I directed my staff to pull down the website
  11 http://morrisonknudsen.com/.” [Dkt. 87 at 2:26–27.]
  12         Mr. Topolewski, for his part, filed one declaration, stating that he “gave a
  13 copy of this Court’s Order Re: Plaintiff’s Motion for Preliminary Injunction to Mike
  14 Johnson . . . [and] asked that he take appropriate actions to see that the corporate
  15 defendants comply with the order. . . . I have since come to believe that Mr. Johnson
  16 took appropriate actions to effectuate the order. . . . I have reviewed Mr. Johnson’s
  17 declaration filed today and believe that through his actions, the corporations and I
  18 are in compliance with the court order.” [Dkt. 63 at 2:6–14.] This was the extent of
  19 Mr. Topolewski’s ability to influence the Corporate Defendants’ actions.
  20 [Topolewski Decl., ¶ 3.]
  21         As for the recent claimed resurrection of www.morrisonknudsen.com, the
  22 domain provider NameBright.com confirmed that, since June 18, 2020, the
  23 website’s registrant was located at 2049 Century Park East, Suite 2525, Los
  24 Angeles, CA 90067, not the address Plaintiff claims is affiliated with Mr.
  25 Topolewski. [Sedor Decl., Ex. 4 at 30.]
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   1 III.   ARGUMENT
   2        A.     Legal Standard
   3        Federal Rule of Civil Procedure 37 governs sanctions for failure to cooperate
   4 in discovery. Terminating sanctions are considered a “draconian remedy” and a
   5 “lethal weapon” only appropriate in extreme circumstances. Vecron Exim Ltd. v.
   6 Clinton Lee Stokes, III, No. CV1702944CASRAOX, 2018 WL 3830916, at *4 (C.D.
   7 Cal. July 19, 2018). The Supreme Court has established “two standards that must
   8 guide the exercise of the court’s discretion” in awarding sanctions: “[f]irst, any
   9 sanction must be ‘just’; second, the sanction must be specifically related to the
  10 particular ‘claim’ which was at issue in the order to provide discovery.” City of
  11 Colton v. Am. Promotional Events, Inc., No. CV0906630PSGSSX, 2012 WL
  12 13013035, at *6 (C.D. Cal. June 7, 2012) (internal quotations omitted)).
  13        B.     Plaintiff Failed To Meet The Prerequisites For Bringing A Motion
  14               For Terminating Sanctions
  15        Terminating sanctions are only available when a party violates a discovery
  16 order. See Fed. R. Civ. P. 37(b); Ins. Co. of IR v. Compagnie Des Bauxites, 456
  17 U.S. 694, 707 (1982). Under the statute, “order” means an order giving a party
  18 “unequivocal notice that a court has asked that certain documents be produced.”
  19 Dreith v. Nu Image, Inc., 648 F.3d 779, 787 (9th Cir. 2011). Thus, a motion to
  20 compel is a prerequisite for terminating sanctions and terminating sanctions will not
  21 be granted until such a motion has come before the court. See Am. Unites for Kids
  22 v. Rousseau, 985 F.3d 1075, 1084 (9th Cir. 2021).
  23        Since remand, Plaintiff has not filed any motions to compel. Instead, Plaintiff
  24 renewed one motion to compel regarding a single document request that the
  25 previous Magistrate Judge denied. The renewed motion to compel was denied again
  26 and this time by a different Magistrate Judge. Plaintiff has not otherwise requested
  27 from Mr. Topolewski any additional documents, propounded any interrogatories, or
  28 noticed any deposition of Mr. Topolewski. Because Plaintiff did not file any motion


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   1 to compel, the court has not yet entered a discovery order, and thus Plaintiff cannot
   2 move for terminating sanctions on the theory that Mr. Topolewski violated court-
   3 ordered discovery. Plaintiff’s motion for terminating sanctions should be denied for
   4 this reason alone.
   5         C.     Terminating Sanctions Are Unjustified Because Mr. Topolewski
   6                Cannot Be Held Vicariously Liable For The Alleged Misconduct Of
   7                The Corporate Defendants
   8         A defendant cannot be sanctioned on a theory of vicarious liability. See
   9 Loops, LLC v. Phoenix Trading, Inc., 594 Fed. Appx. 614, 617 (Fed. Cir. 2014)
  10 (applying 9th Cir. law) (lower court improperly sanctioned defendants for
  11 misconduct of co-defendant); Primus Auto. Fin. Servs., Inc. v. Batarse, 115 F.3d
  12 644, 650 (9th Cir. 1997) (reversing sanctions because district court did not “assess . .
  13 . attorney’s individual conduct and . . . make an explicit finding that he . . . acted in
  14 bad faith.”); Barnd v. City of Tacoma, 664 F.2d 1339, 1343 (9th Cir. 1982); Bonilla
  15 v. Volvo Car Corp., 150 F.3d 88, 93–94 (1st Cir. 1998) (“Codefendants cooperate
  16 all the time, but that does not mean that one defendant is automatically responsible
  17 for misconduct of another.”); Martin v. Brown, 63 F.3d 1252, 1265 (3d Cir. 1995)
  18 (sanctions can only be based on one’s own improper conduct).
  19         In addition, before a court can impose sanctions pursuant to its inherent
  20 power, it must find that the party acted in bad faith. See Primus, 115 F.3d at 650;
  21 Barnd, 664 F.2d at 1343 (remanding case for withdrawal of personal sanctions or
  22 further findings of fact on personal acts of bad faith). A determination of bad faith
  23 requires an assessment of each individual’s conduct, separate and apart from the
  24 conduct of the other parties. See Primus, 115 F.3d at 650. Failure to conduct an
  25 individual assessment before the issuance of sanctions merits reversal. See id.
  26         Here, Plaintiff attempts to justify sanctions against Mr. Topolewski on the
  27 basis of the Corporate Defendants’ actions. Plaintiff repeatedly addresses
  28 Defendants collectively: (1) “Defendants have refused to produce any reliable


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   1 information regarding their financial records,” [Dkt. 398-1, at 12]; (2) “Defendants
   2 repeatedly put back online the Infringing Website advertising their services,” id.; (3)
   3 and Defendants “spoliated or withheld the underlying evidence, or . . . committed a
   4 complete fraud on the Court by simply making up the numbers,” id. at 13 (footnote
   5 omitted). Plaintiff makes no attempt to carve-out Mr. Topolewski and point to a
   6 specific discovery order that he violated after the remand because there is none.
   7         For example, as support for its request of terminating sanctions, Plaintiff
   8 alleges that all Defendants meet the willful misconduct standard because they failed
   9 to sit for depositions and violated the preliminary and permanent injunctive orders.
  10 [See Dkt. 398-1, at 18.] Mr. Topolewski, however, did sit for a deposition and does
  11 not control the websites that are the basis for Plaintiff’s allegations regarding the
  12 injunctive orders. [Topolewski Decl., ¶ 3.] Plaintiff admits that its allegations
  13 regarding the injunctions pertain to the Corporate Defendants and not to Mr.
  14 Topolewski. [See Dkt. 398-1, at 3.] Plaintiff’s own motion states that the
  15 Defendants have continued to use the MK name “in their corporate names.” [Id.]
  16 For the time period to which Plaintiff refers, these “corporate names” are not
  17 attributable to Mr. Topolewski. [Topolewski Decl., ¶ 3.] Plaintiff repeated
  18 references to the Defendants as a collective is insufficient under the law to justify
  19 the imposition of sanctions.
  20         D.    Mr. Topolewski’s Actions Do Not Rise To The Level Of
  21               Misconduct Required To Justify Terminating Sanctions
  22         Considering only the individual allegations against Mr. Topolewski, as is the
  23 rule when determining an award of sanctions, Mr. Topolewski did not engage in any
  24 litigation misconduct that rises to the level of sanctionable behavior. The imposition
  25 of terminating sanctions requires willfulness, bad faith, or disobedient conduct that
  26 is “not shown to be outside the control of the litigant.” Henry v. Gill Industries,
  27 Inc., 983 F.2d 943, 948 (9th Cir. 1993). Only upon a finding of willful misconduct
  28 does the Court apply the Malone factors to determine whether terminating sanctions


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   1 are appropriate. See id. The goal of these inquiries “is [to determine] whether
   2 parties will ever have access to true facts or receive the discovery necessary for the
   3 case to move forward.” Conn. Gen. Life Ins. Co. v. New Images Beverly Hills, 482
   4 F.3d 1091, 1097 (9th Cir. 2007).
   5         Plaintiff claims that Defendants meet the willful misconduct standard because
   6 they “violat[ed] numerous orders, fail[ed] to respond to discovery and sit for
   7 depositions, miss[ed] deadlines, and violat[ed] the preliminary and permanent
   8 injunction orders.” [Dkt. 398-1 at 18.] As noted above, Mr. Topolewski sat for a
   9 deposition before remand, and Plaintiff never sought to depose him after remand.
  10 Plaintiff admits that, after Mr. Topolewski had to leave his deposition early, counsel
  11 made “assurances that he would be made available to complete his deposition.”
  12 [Dkt. 398-1, at 5.] Yet after remand, Plaintiff never sought a deposition date for
  13 him, much less a court order for his deposition. Plaintiff’s allegations are therefore
  14 not correct.
  15                1.    Plaintiff Has Not Shown That Mr. Topolewski Violated Any
  16                      Discovery Order
  17         As a threshold matter, an inquiry into alleged misconduct can only commence
  18 if Mr. Topolewski violated a discovery order. To support its claims that he did so in
  19 this case, Plaintiff cites three inapposite cases: Peermusic III Ltd. v. LiveUniverse,
  20 Inc., No. CV 09-6160-GW PLAX, 2011 WL 2358549 (C.D. Cal. May 24, 2011);
  21 Computer Task Group, Inc. v. Brotby, 364 F.3d 1112 (9th Cir. 2004); and In re
  22 Phenylpropanolamine (PPA) Prod. Liab. Litig., 460 F.3d 1217 (9th Cir. 2006). In
  23 Peermusic III, the court held that the defendants acted with willful misconduct after
  24 failing to comply with an order compelling them to produce documents and an order
  25 to show cause. See 2011 WL 2358549, at *12. In Computer Task Group, the court
  26 granted “five orders compelling [the defendant] to cooperate with discovery.” 364
  27 F.3d at 1114. In re Phenylpropanolamine addresses failure to comply with Case
  28 Management Orders and is therefore inapplicable here. See 460 F.3d at 1233–34.


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   1         Plaintiff points to no discovery order that Mr. Topolewski violated because
   2 there is none. The only discovery order Plaintiff has sought and obtained since
   3 remand is an order denying, for the third time, Plaintiff’s Motion to Compel the
   4 production of Mr. Topolewski’s tax returns. [See Dkt. 397 at 4.]
   5               2.     Alleged Violations of the Injunction Are Not Grounds for
   6                      Terminating Sanctions Against Mr. Topolewski
   7         Actions only rise to the level of willful misconduct required for an award of
   8 terminating sanctions if those actions are “not shown to be outside the control of the
   9 litigant.” Henry, 983 F.2d at 948. Further, even if such actions were within Mr.
  10 Topolewski’s control, violation of an injunctive order is not, on its own, grounds for
  11 terminating sanctions. See U.S. Legal Support, Inc. v. Hofioni, No. 2:13-CV-1770
  12 LKK AC, 2014 WL 172336, at *3 (E.D. Cal. Jan. 15, 2014) (denying motion for
  13 terminating sanctions for violation of preliminary injunction because “the court
  14 does not construe a[n] . . . injunction . . . to be a ‘discovery order’”); Enovative
  15 Techs., LLC v. Leor, 110 F. Supp. 3d 633, 640 (D. Md. 2015) (default judgment not
  16 proper sanction for violations of injunction without violation of Rule 37(b)).
  17         Further, the violations of the injunctions alleged by Plaintiff are attributable to
  18 the Corporate Defendants, not Mr. Topolewski. Mr. Topolewski's positions with
  19 some of the Corporate Defendants ended before any injunction was entered. Thus,
  20 for the time in question, he had no control over the Infringing Websites nor any
  21 control over the Corporate Defendants’ decision to abide by the injunction.
  22 [Topolewski Decl., ¶ 3.] As for the claimed resurrection of
  23 www.morrisonknudsen.com, NameBright.com, Plaintiff’s own source, confirmed
  24 that the registrant of the site has been located at 2049 Century Park East, Suite 2525,
  25 Los Angeles, CA 90067 since June 18, 2020. This is not the address Plaintiff claims
  26 is affiliated with Mr. Topolewski. [Sedor Decl., Ex. 4 at 30.] Therefore, the
  27 allegations Plaintiff claims show bad faith and willful misconduct are not within Mr.
  28 Topolewski’s control.


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   1               3.     The Malone Factors Do Not Support an Award of
   2                      Terminating Sanctions Against Mr. Topolewski
   3         After a finding that a party violated a discovery order and acted with willful
   4 misconduct, the Court will employ the Malone factors to determine whether
   5 terminating sanctions are appropriate. See Henry, 983 F.2d at 948; Malone v. U.S.
   6 Postal Serv., 833 F.2d 128, 130 (9th Cir. 1987). “[T]he Malone factors are not . . . a
   7 script the district court must follow, but ‘a way for a district judge to think about
   8 what to do.’” United States v. Kinetic Concepts, Inc., No. CV0801885BROAGRX,
   9 2017 WL 8948062, at *5 (C.D. Cal. Aug. 21, 2017). While the Court should
  10 consider all of them, “the third and fifth factors . . . are dispositive.” Diamond Ben.
  11 Life Ins. Co. v. Dreyfuss, 119 F.3d 5 (9th Cir. 1997).
  12                      a.     The Public’s Interest in a Speedy Trial
  13         The public has an interest in dismissal where a party’s “dilatory conduct
  14 greatly impede[s] resolution.” United Constr. Prod., Inc. v. Tile Tech, Inc., 843
  15 F.3d 1363, 1368 (Fed. Cir. 2016) (applying 9th Cir. law). Plaintiff claims such a
  16 public interest exists here because Mr. Topolewski hired counsel to represent him
  17 individually. Dismissal is not proper because a party seeks new counsel, and
  18 Plaintiff fails to show how this prevented a speedy trial.
  19                      b.     The Court’s Interest in Docket Management
  20         The Court’s interest in managing its docket is disrupted when “there is no
  21 assurance that th[e] matter can proceed to trial on the true facts.” Id at 1369. Here,
  22 Plaintiff had the opportunity, on remand, to seek the “true facts” through discovery
  23 but chose not to serve Mr. Topolewski with further discovery.
  24                      c.     Risk of Prejudice
  25         Prejudice, the third Malone factor, is “essential” to an award of terminating
  26 sanctions. Wanderer v. Johnston, 910 F.2d 652, 656 (9th Cir. 1990). Prejudice
  27 exists where a party’s actions interfere “with the rightful decision of the case” or
  28 make the “true facts” impossible to obtain. See id.


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   1         Any interference with Plaintiff’s ability to find the “true facts” on damages is
   2 its own fault. Plaintiff did not propound any discovery on Mr. Topolewski after
   3 remand. Instead, its primary grievance is that Mr. Topolewski objected to the
   4 subpoenas it served on third parties. But Federal Rule of Civil Procedure 45 gives a
   5 party the right to object to third party subpoenas. See Fed. R. Civ. P. 45; Notes of
   6 Advisory Committee on Rule 45—1991 Amendment (“The purpose of [45(b)(1)]
   7 notice is to afford other parties an opportunity to object.”).
   8         Plaintiff repeatedly blames its inability and refusal to conduct discovery on
   9 Mr. Topolewski’s objections to its subpoenas, thus asking the Court to sanction him
  10 for exercising that procedural right. [See Dkt. 398-1, at 1 (“Defendants objected to
  11 every single subpoena, and AECOM was unable to obtain discovery, yet again.”); at
  12 10 (same) ; at 12 (same); at 14–15 (same); at 22 (same)]. That argument is
  13 distinguishable from Plaintiff’s cited cases, none of which found objections to third-
  14 party discovery prejudicial. See In re Phenylpropanolamine, 460 F.3d at 1227
  15 (actions risking unavailability of witnesses and loss of records were prejudicial);
  16 Wanderer, 910 F.2d at 656 (violating numerous discovery orders was prejudicial);
  17 Conn. Gen. Life Ins. Co., 482 F.3d at 1097 (hiding identities and locations of
  18 witnesses was prejudicial); Valley Eng’rs Inc. v. Electric Eng. Co., 158 F.3d 1052,
  19 1057–58 (9th Cir. 1998) (withholding and persuading witnesses to lie about a
  20 document was prejudicial). Plaintiff’s lack of authority reinforces the fact that
  21 objections are not prejudicial nor are they grounds for sanctions. Plaintiff’s
  22 argument is all the more unjustified as the Magistrate Judge agreed with Mr.
  23 Topolewski and granted a protective order.
  24                      d.     Public Policy Favoring Judgment on the Merits
  25         Plaintiff claims that this factor cannot weigh against dismissal because Mr.
  26 Topolewski withheld information “by objecting to third-party discovery.” Plaintiff
  27 cites the same cases as in its analysis of factor 3, but as noted above, objections are
  28 not grounds for sanctions and Plaintiff’s cases do not support such a ruling.


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   1                       e.     The Availability of Lesser Sanctions
   2         On remand, Plaintiff has not sought any discovery order nor has it moved this
   3 Court for lesser sanctions based on any violation of a discovery order. As noted
   4 above, its allegations that Mr. Topolewski prevented Plaintiff from obtaining
   5 discovery are unfounded, as Plaintiff never sought discovery from him on damages.
   6 Plaintiff is not entitled to terminating sanctions under the Malone factors.
   7         E.     Plaintiff’s Adverse Inferences Regarding Damages Are
   8                Unwarranted Because They Are Speculative, Punitive, Made In
   9                Bad Faith, And Contrary To The Law Of The Case
  10         If a party fails to obey a discovery order, the court “may make such orders in
  11 regard to the failure as are just,” including “[a]n order that . . . designated facts shall
  12 be taken as established for the purposes of the action in accordance with the claim of
  13 the party obtaining the order.” Fed. R. Civ. P. 37(b)(2)(A). Any adverse inference
  14 must be reasonable and not merely speculative. Earp v. Davis, 881 F.3d 1135, 1143
  15 (9th Cir. 2018). “A ‘reasonable’ inference is one that is supported by a chain of
  16 logic, rather than mere speculation dressed up in the guise of evidence.” Id. Here,
  17 Plaintiff asks the Court to calculate sanctions based on the adverse inference that
  18 one of the press releases is an accurate representation of the Defendants’ profits
  19 from the use of Plaintiff’s trademarks.
  20         Plaintiff alleges that adverse inferences are warranted because they either
  21 spoliated or withheld evidence or committed fraud on the Court. [Dkt. 398-1, at 13.]
  22 Plaintiff’s “chain of logic” is essentially as follows: (1) Defendants did not produce
  23 financial records; (2) Defendants’ alleged use of the MK name “is highly
  24 profitable”; (3) the income statements produced were “made[] for litigation” and
  25 “bogus” and contained “false statements”; (4) Defendants either “spoliated or
  26 withheld . . . evidence” or “committed a complete fraud on the Court . . . Or—most
  27 likely—both.” [Id. (footnote omitted).] This is not “logic.” It is mere speculation
  28 that because the Corporate Defendants failed to produce bank records, they have


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   1 spoliated evidence or committed fraud. Regardless, these accusations are again not
   2 attributable to Mr. Topolewski.
   3               1.     Plaintiff’s Request that the Court Use the Press Release for
   4                      Damages Runs Afoul of the Law of the Case
   5         Here, Plaintiff asks the Court to take as true the press release claiming that the
   6 MK Companies were awarded a $36 million job and as a result, to award sanctions
   7 in that amount. On remand, the scope of the proceedings must comply with the
   8 mandate of the remanding court. See His & Her Corp. v. Shake-N-Go Fashion, Inc.,
   9 No. 2:11-CV-05323-CAS, 2015 WL 1227997, at *2 (C.D. Cal. Mar. 13, 2015).
  10         Everything covered by the appellate court is considered the law of the case.
  11 See United States v. Alexander, 106 F.3d 874, 876 (9th Cir. 1997). The law of the
  12 case doctrine precludes a lower court, on remand, from reconsidering an issue that
  13 has already been decided by the higher court. See id.; Sigma Financial Corp. v.
  14 Gotham Insurance Co. (C.D. Cal., Nov. 6, 2017, No. SACV1501531AGDFMX)
  15 2017 WL 10543646, at *2–3 (rejecting proposed adverse inference because it
  16 contradicted the record). There are five exceptions to this rule, none of which
  17 Plaintiffs cite for the contention that the Court should ignore the law of the case and
  18 consider the press release sufficient to prove damages. See Alexander, 106 F.3d at
  19 876 ((1) the decision was clearly erroneous; (2) an intervening change in the law; (3)
  20 substantially different evidence on remand; (4) other changed circumstances exist;
  21 or (5) injustice would otherwise result). Further, “[f]ailure to apply the doctrine of
  22 the law of the case absent one of the [exceptions] constitutes an abuse of discretion.”
  23 Id.
  24         In its opinion, the Ninth Circuit stated, “Defendants-Appellants argue that the
  25 press releases failed to satisfy AECOM’s burden of proving Defendants-Appellants’
  26 sales under § 1117(a) because the press releases ‘merely announce construction
  27 projects have been awarded,’ and fail to show that Defendants-Appellants
  28 completed any of the projects or received any revenue from the projects. We agree.”


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   1 [Dkt. 339-1 at 4.] Taking one press release as true and awarding sanctions based on
   2 it would therefore run afoul of the law of the case and merit reversal.
   3               2.     Plaintiff’s Requested Inference Of Monetary Sanctions Based
   4                      On A Press Release Is Improper
   5         Plaintiff’s request that the Court infer that Defendants were awarded $36
   6 million based on a press release is an improper attempt to circumvent the law. The
   7 Ninth Circuit remanded this case on the issue of damages because the press releases
   8 were insufficient and this Court reopened discovery on the damages issue. [See Dkt.
   9 361.] Yet Plaintiff made no effort to seek any discovery from the third parties
  10 identified in the press releases, never served Defendants with discovery relating to
  11 the press releases, and made no effort to further investigate the Defendants’ “sales.”
  12 Plaintiff’s sanctions motion simply ignores the Ninth Circuit’s finding that it “failed
  13 to satisfy [its] burden of proving Defendants-Appellants’ sales.” [Dkt. 339-1 at 4.]
  14         Plaintiff cites Maier v. Fleischmann Distilling Corp., 390 F.2d 117 (9th Cir.
  15 1968), for the proposition that it is entitled to damages beyond an injunction. Maier
  16 specifically deals with scenarios where plaintiffs who can prove profits, via
  17 evidence of sales, seek to recover them. See id. at 119 (appeal from award of profits
  18 on basis of beer sales). Here, the Ninth Circuit established the insufficiency of the
  19 press releases to prove sales. [See Dkt. 339-1 at 5 n.4 (“Even if we were to view the
  20 press releases in the light most favorable to AECOM, we doubt they would support
  21 an inference that there were ‘sales’—i.e., monies actually received—by Defendants-
  22 Appellants, in any amount.”) (emphasis in original).] Plaintiff argues that the
  23 damages record is “incomplete” because Defendants evaded discovery, but after the
  24 Court reopened discovery on damages, Plaintiff did not serve any discovery seeking
  25 sales information.
  26         Instead of pursuing evidence to support its contention that Defendants
  27 accepted and executed the $36 million construction contract, Plaintiff attempts to
  28 circumvent the requirement that it support a damages claim with evidence. Plaintiff


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   1 now moves the court to grant it the same result—$36 million—via adverse
   2 inference, a mechanism that does not require evidentiary proof of economic harm.
   3 Plaintiff’s improper attempt to avoid its obligation to come forward with evidence to
   4 support the amount in the press release should be disregarded.
   5                3.     Plaintiff’s Request that the Court Treble Costs is Punitive
   6         If Plaintiff seeks monetary sanctions, it must prove up those damages caused
   7 by Mr. Topolewski. See Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1407 (9th
   8 Cir. 1993) (under the Lanham Act, “[a] plaintiff must prove both the fact and the
   9 amount of damage.”); DermFx, Inc. v. Obagi Med. Prods. No. SACV 15-01999 JVS
  10 (DFMx), 2017 U.S.Dist.LEXIS 88466 (C.D. Cal. Mar. 24, 2017) (same). A
  11 sanctions award is limited solely to those fees directly caused by sanctionable
  12 misconduct. Goodyear Tire & Rubber Co. v. Haeger et al., 137 S. Ct. 1178, 1186
  13 (2017). Further, under the Lanham Act, costs and fees cannot constitute a penalty,
  14 nor can they pass as evidence for revenue and profits. See 15 U.S.C. § 1117(a).
  15                       a.     Plaintiff’s Requested Damages are Disallowed Under
  16                              the Lanham Act.
  17         Section 1117(a) of the Lanham Act entitles a plaintiff who establishes a
  18 violation to recover, inter alia, the defendant’s profits. “In assessing profits the
  19 plaintiff shall be required to prove defendant’s sales only; defendant must prove all
  20 elements of cost or deduction claimed.” Id. This means that sales and costs are
  21 calculated separately. If a defendant does not meet its burden of proving costs, then
  22 the relevant figure is sales. If a plaintiff fails to prove the defendant’s profits, it will
  23 not recover them. See Lindy Pen Co., 982 F.2d at 1408–09 (no evidence of lost
  24 profits presented after plaintiff had additional opportunity to seek evidence).
  25 Plaintiff’s cited cases did not adopt costs as the measure of damages. See PepsiCo
  26 v. Triunfo-Mex, Inc., 189 F.R.D. 431, 432 (C.D. Cal. 1999) (damages based on proof
  27 of profits); OmniGen Res., LLC v. Yongqiang Wang, No. 6:16-cv-268-MC, 2017
  28 WL 5505041, at *18 (D. Or. Nov. 16, 2017) (damages based on market price of


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   1 infringing company). The law does not support the designation of Defendants’
   2 alleged costs as Plaintiff’s damages under the guise of “sanctions.”
   3                      b.       Plaintiff’s Proposed Sanctions Are Not Compensatory
   4         A monetary sanction for fees and costs “must be compensatory rather than
   5 punitive in nature.” Goodyear, 137 S. Ct. at 1186. The number must be reasonable,
   6 which is impossible to determine when a party receives “a lump-sum sanctions
   7 award . . . which is intended to cover a myriad of misconduct over a period of time.”
   8 Matter of Yagman, 796 F.2d 1165, 1184 (9th Cir. 1986), opinion amended on denial
   9 of reh’g sub nom., In re Yagman, 803 F.2d 1085 (9th Cir. 1986).
  10         Plaintiff asks the Court to calculate its damages based on an estimate of
  11 Defendants’ costs because Defendants have not provided any proof of income.
  12 Plaintiff mistakenly relies on Harhay v. Starkey, No. 08–30229–MAP, 2010 WL
  13 5475706, at *6 (D. Mass. Aug. 26, 2010), a trust case, to support this adverse
  14 inference. In Harhay, the court did not take costs as profits or loss. It gave damages
  15 to the trust beneficiaries based on an adverse inference because the disputed
  16 assets—a residual trust and estate and real property—proved “some loss.” Id. at *7,
  17 *11. Plaintiff’s claim that “Defendants claim to have spent hundreds of thousands
  18 of dollars each year,” which is not accompanied by a citation, does not rise to that
  19 standard of “some loss.” Harhay, 2010 WL 5475706, at *7.
  20         Plaintiff’s reliance on Coach v. O’Brien, No. 10 Civ 6071(JPO)(JLC), 2012
  21 WL 1255276, at *4 (S.D.N.Y. Apr. 13, 2012) is also misplaced. Coach, a statutory
  22 damages case, permitted an inference that a party underreported revenues by a factor
  23 of 20 when it failed to produce full financial evidence. See id. at *2. But statutory
  24 damages are governed by a different provision of the Lanham Act and are irrelevant
  25 here, as Plaintiff did not initially elect to recover them. Here, Plaintiff must provide
  26 particularized proof of its damages, especially given the Ninth Circuit’s remand for
  27 a trial on that very issue.
  28


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   1        F.     Plaintiff’s Per Diem Demand Is Unsupported By Case Law
   2        Plaintiff demands a $9,000,000 additional monetary sanction based on a
   3 calculation of $10,000 per day for each day that this case has been pending in this
   4 Court. Plaintiff claims that courts have imposed this sanction on noncompliant
   5 parties, but the case law it cites does not support entitlement to a $10,000 per diem
   6 for past noncompliance, as Plaintiff suggests. Indeed, all of the cases cited by
   7 Plaintiff only support such an award for future noncompliance. See Hook v. Ariz.
   8 Dep’t of Corrections, 107 F.3d 1397 (9th Cir. 1997) (sanctions of $10,000 per day
   9 for future violation of injunctive order); CBS Broad. Inc. v. FilmOn.com, Inc., 814
  10 F.3d 91 (2d Cir. 2016) (same); Matter of Search of Content Stored at Premises
  11 Controlled by Google Inc., No. 16-mc-80263-RS, 2017 WL 4700056 (N.D. Cal.
  12 2017) (same for future noncompliance with government search warrant); JPMorgan
  13 Chase Bank, N.A. v. PT Indah Kiat Pulp and Paper Corp. Tbk, 854 F. Supp. 2d 528
  14 (N.D. Ill. 2012) (same for failure to comply with post-judgment collection orders);
  15 U.S. Philips Corp. v. KXD Tech., Inc., No. 2:05-cv-08953-ER-PLAx, 2007 WL
  16 4984153 (C.D. Cal. 2007) (same for future violations of injunction).
  17        There is no legally cognizable basis for a per diem discovery sanction of
  18 $10,000 for each day the parties have spent in court. Moreover, as noted above, Mr.
  19 Topolewski has no control over future violations of the injunction in this case.
  20        G.     Attorneys’ Fees Should Not Be Awarded As Sanctions
  21        A discovery sanction awarding attorneys’ fees and costs must be reasonable
  22 and “go no further than to redress the wronged party for losses sustained.”
  23 Goodyear, 137 S. Ct. at 1186. When a sanctions award is based upon attorneys’
  24 fees, the reasonableness of the award is determined by the reasonableness of the
  25 claimed fees. See id. Recovery should never exceed those expenses and fees that
  26 were reasonably necessary to resist the offending action. See id.
  27        The Ninth Circuit remanded this case on the issue of damages under Lanham
  28 Act § 1117(a), making attorneys’ fees available only upon a showing of exceptional


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   1 circumstances. See 15 U.S.C. § 1117(a); U-Haul Int'l, Inc. v. Jartran, Inc., 793 F.2d
   2 1034, 1043–44 (9th Cir. 1986). Plaintiff states that this case reflects exceptional
   3 circumstances, but it does not make any allegations against Mr. Topolewski
   4 individually to support such an allegation. [See Dkt. 398-1 at 34.] Nor has Plaintiff
   5 proved up its evidence of such fees, depriving Mr. Topolewski and the Court from
   6 determining their reasonableness.
   7         Further, Plaintiff claims that the Court should treble damages in part because
   8 the Court has “ordered payment of attorneys’ fees four times . . . [and] AECOM is
   9 still owed nearly $900,000.” [Dkt. 398-1 at 15]. Plaintiff also accuses Mr.
  10 Topolewski of trying to avoid paying attorneys’ fees. [See id. at 15 n.9.]
  11         Plaintiff ignores the fact that because of the Ninth Circuit’s reversal, no final
  12 judgment has been entered in this case. Under Federal Rule of Civil Procedure
  13 54(d)(2), attorneys’ fees are not awarded until an entry of judgment. See Fed. R.
  14 Civ. P. 54(d)(2). There has been no enforceable award of attorneys’ fees here and
  15 Plaintiff’s reliance on the Court’s earlier award of attorneys’ fees is misplaced.
  16         H.     Other Rules And Principles Do Not Support Sanctions
  17                1.    Federal Rule of Civil Procedure 26(g)
  18         Rule 26(g)(3) provides that the Court may impose sanctions if discovery
  19 responses are not “complete and correct as of the time they are made if such a
  20 disclosure is made “without substantial justification.” Fed. R. Civ. P. 26(g)(1)(A),
  21 (g)(3). Mr. Topolewski made an incorrect statement in one declaration, and the
  22 mistake was later corrected. Mr. Topolewski’s actions are not grounds for sanctions
  23 under Rule 26(g).
  24                2.    Federal Rule of Civil Procedure 16(f)
  25         Rule 16(f) gives the Court authority to impose sanctions for failure to appear
  26 at pretrial or scheduling conferences, unpreparedness for such conferences, or
  27 failure to obey such orders. See Fed. R. Civ. P. 16(f)(1)(A)-(C). Plaintiff interprets
  28 “pretrial” as “before trial,” but “pretrial” in the context of Rule 16 refers to the


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   1 “pretrial conference” and associated filings. See Fed. R. Civ. P. 16. Neither Mr.
   2 Topolewski nor his counsel has committed any of the misconduct in Rule 16(f).
   3                3.    Central District Local Rule 83-7
   4         Plaintiff claims that the Court may sanction Mr. Topolewski under Local Rule
   5 83-7 but provides no grounds upon which such sanctions may be based.
   6                4.    Inherent Authority Sanctions
   7         While this Court has inherent authority to sanction parties, see In re the Exxon
   8 Valdez, 102 F.3d 430, 432 (9th Cir. 1996), grounds for such sanctions do not exist
   9 here. As described above, the court may not use its inherent authority to award
  10 sanctions on the basis of vicarious liability, see Section III.C, nor may it invoke
  11 inherent authority sanctions to award a monetary penalty, see Section III.E.3, or
  12 without a finding of bad faith, see Section III.C. Here, Plaintiff seeks to sanction
  13 Mr. Topolewski vicariously for the acts of the Corporate Defendants, to impose on
  14 Mr. Topolewski a penalty sanction against of over $9,000,000, and to impute the
  15 Corporate Defendants’ behavior to Mr. Topolewski as proof that Mr. Topolewski
  16 acted in bad faith. Plaintiff is not entitled to inherent authority sanctions.
  17 IV.     CONCLUSION
  18         For all of the foregoing reasons, Mr. Topolewski respectfully requests that the
  19 Court deny Plaintiff’s Motion for Sanctions.
  20
  21 DATED: December 28, 2021 JEFFER MANGELS BUTLER & MITCELL LLP
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